             Case 23-11275-amc                    Doc        Filed 04/30/24 Entered 04/30/24 11:06:19                              Desc Main
                                                             Document      Page 1 of 5
 Fill in this information to identify the case:
 Debtor 1    Shawn D. Gardiner

 Debtor 2

 (Spouse, if filing)

 United States Bankruptcy Court for the EASTERN District of PENNSYLVANIA

 Case number 23-11275-amc

Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                   12/15
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor: MILL CITY MORTGAGE LOAN TRUST 2018-3 Court claim no. (if known): 14-2

Last 4 digits of any number you use to                                            Date of payment change: 6/1/2024
identify the debtor’s account: 9374                                               Must be at least 21 days after date
                                                                                  of this notice

                                                                                  New total payment: $1,911.37
                                                                                  Principal, interest, and escrow, if any

 Part 1:       Escrow Account Payment Adjustment

 1.      Will there be a change in the debtor’s escrow account payment?

         □ No.
         ■ Yes.         Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                        the basis for the change. If a statement is not attached, explain why:
                        ________________________________________________________________________________________________________
                        ____________________________________

         Current escrow payment: $356.45                             New escrow payment: $467.07


 Part 2:       Mortgage Payment Adjustment

 2.      Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
          variable-rate account?

         ■ No
         □ Yes.        Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
                         explain why:
                         _______________________________________________________________________________________________________
                         __________________________________________________________________________________

         Current interest rate:                                    New interest rate:

         Current principal and interest payment:           New principal and interest payment:


 Part 3:       Other Payment Change

 3.      Will there be a change in the debtor's mortgage payment for a reason not listed above?

         ■ No
         □ Yes         Attach a copy of any document describing the basis for the change, such as a repayment plan or loan modification agreement.
                       (Court approval may be required before the payment change can take effect.)

                       Reason for change: ________________________________________________________________________________

         Current mortgage payment                           New mortgage payment:




Official Form 410S1                                   Notice of Mortgage Payment Change                                                page 1
             Case 23-11275-amc                     Doc           Filed 04/30/24 Entered 04/30/24 11:06:19                               Desc Main
                                                                 Document      Page 2 of 5


Debtor 1 Shawn D. Gardiner                                             Case number (if known) 23-11275-amc
            Print Name        Middle Name   Last Name




 Part 4:       Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

 Check the appropriate box.
      □ I am the creditor
      ■ I am the creditor’s authorized agent.

 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.

           Shellie A. Labell                              04/25/2024
     /s/ ______________________                    Date ________________________
     Signature



  Print               Shellie A. Labell
                     _____________________________________________                                      Title   Authorized Agent for Creditor
                     First Name                    Middle Name       Last Name


  Company            Robertson, Anschutz, Schneid, Crane & Partners, PLLC


  Address            130 Clinton Rd #202
                     Number       Street


                     Fairfield NJ 07004
                     City                                                 State        ZIP Code

  Contact Phone      470-321-7112                                                                                slabell@raslg.com
                                                                                                        Email _____________________________




  The Creditor has conducted an analysis of this loan and determined that adjustments are necessary to account for prior

post-petition payment changes that were not disclosed to the Debtor, Trustee and Court under Federal Rule of Bankruptcy

  Procedure 3002.1(b). The Creditor’s adjustments give the Debtor the benefit of any differences in payment amount for

 changes that were not disclosed, in the form of either credits or waivers equal to such differences in payment amount, as

                                                                           applicable.




Official Form 410S1                                     Notice of Mortgage Payment Change                                                       page 2
          Case 23-11275-amc       Doc    Filed 04/30/24 Entered 04/30/24 11:06:19    Desc Main
                                         Document      Page 3 of 5
                                        CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on _________________________,
                                         April 30, 2024            I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system, and a true and correct copy has been served via United
States Mail to the following:

Shawn D. Gardiner
1015 E Durham St
Philadelphia, PA 19150-3418

And via electronic mail to:

MICHAEL A. CIBIK
Cibik Law, P.C.
1500 Walnut Street
Suite 900
Philadelphia, PA 19102

KENNETH E. WEST
Office of the Chapter 13 Standing Trustee
1234 Market Street - Suite 1813
Philadelphia, PA 19107

United States Trustee
Office of United States Trustee
Robert N.C. Nix Federal Building
900 Market Street
Suite 320
Philadelphia, PA 19107


                                                  By: /s/ Lyndzey Mohar




Official Form 410S1                 Notice of Mortgage Payment Change                   page 3
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   D=GPTMQ=D<Q=WO[<MG<MNPWVD=D<MN<7N<7PLMU=<Q7N\TVSLP]<P7G=<OT<MG<GVQ^=PL<LO<7<Q7N\TVSLP]<DMGPJ7TR=_<LJMG<NOLMP=<MG<Q=MNR<STOUMD=D<`OT
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